                Case 1:18-cr-00309-LMM-LTW Document 42 Filed 01/14/19 Page 1 of 1
~GISTRATE'S CRIMINAL MINUTES

ARRAIGNMENT
      PLEA AND
            SENTENCE




OR\G\NAL
                                                                               Time in Court:               Hrs        3        Mins
 Filed in Open Court:              Date:   1/14/19              Time:         11 :06 am         Tape:    FTR
                                                                                                        -------
Magistrate (presiding): ALAN J. BAVERMAN                       Deputy Clerk:        Lisa Enix

 CASE NO..        1: 18-CR-309-LMM-LTW                          Defendant's Name:         Chalmer Detling, II
                                                                                          --------------~
 AUSA:            Alex R. Sistla                                Defendant's Atty:         Molly Parmer
                                                                                          ------------~
 USPO/PTR:                                                     Type Counsel: FOP

       ARREST DATE:

       INTERPRETER:

       INITIAL APPEARANCE HEARING. ( ) IN THIS DISTRICT                                    Oft in custody? ( ) Yes         () No

       Defendant advised of right to counsel.

       ORDER appointing Federal Defender Program as counsel. ()INITIAL APPEARANCE ONLY.

      ORDER appointing                                                                                   as counsel.

       ORDER giving defendant                 days to employ counsel.
                                    ---------
       Oft to pay attorney fees as follows:

       INFORMATION/COMPLAINT FILED.
                                                                      - - - - - WAIVER OF INDICTMENT FILED.
x     Copy indictment given to dft? (X) Yes        ( ) No     Read to dft? ( ) Yes        ( ) No   (X) Prior to Hrg

      CONSENT TO TRIAL BEFORE MAGISTRATE (Misd I Petty) offense filed.

X     ARRAIGNMENT HELD. (X ) Superseding indictment                                   ( X) Dft's WAIVER of appearance filed.

      Arraignment continued                                   at                           Request of ( ) Govt        ( ) Oft
                                                                    ------
      Oft failed to appear for arraignment.                  Bench warrant issued

X     Oft enters PLEA OF NOT GUilTY. () Oft stood mute; plea of NOT GUilTY entered. ( ) Waiver of appearance.

      MOTION TO CHANGE PLEA, and order allowing same.

      PLEA OF GUilTY I NOLO as to counts

      Petition to enter PLEA OF GUilTY I NOLO filed.

      NEGOTIATED PLEA between Government and defendant filed.

X     Assigned To Judge               Leigh M. May           for (X ) trial      () arraignmenUsentence.
                                    -------
X     Assigned to Magistrate               Linda T. Walker           for pretrial proceedings.

x     Estimated trial time:                days.                      ( ) SHORT            ( X) MEDIUM            ()LONG
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      CONSENT TO PRE-SENTENCE INVESTIGATION filed. Referred to USPO for PSI and continued
